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                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )
                                           )
                  Plaintiff,               )        4:08CR3026
                                           )
          v.                               )
                                           )
                                           )
CARLOS LOVERBOY SILVA,                     )
                                           )
                  Defendant.               )   MEMORANDUM AND ORDER
                                           )

     Hearings were held before me May 16 and 20, 2008 on allegations
made in the petition for action on conditions of pretrial release. The
defendant was present with counsel, and was advised of his rights. On
May 16 the defendant admitted the allegations in the fourth paragraph
of the petition.    The matter proceeded to hearing on the remaining
allegations on May 20, 2008. Evidence was adduced. As announced from
the bench, I find that the remaining allegations of the petition are
true.

     Regarding disposition, the government sought detention.         The
defendant urged a continuation of the present conditions of release with
the possible additional conditions of house arrest and electronic
monitoring.    Upon consideration of the matter, I concluded that
detention is appropriate. Accordingly,

     IT THEREFORE HEREBY IS ORDERED:
     1. The previous order releasing the defendant on conditions, filing
11, is revoked.    Defendant shall be detained until further order.

     DATED May 21, 2008
                                     BY THE COURT:



                                       s/  David L. Piester
                                     United States Magistrate Judge
